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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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KATHERINE G. POTTER and

CV 04-10607 GPS (JWJx)
CHARLES B. KRIEGER,

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Plaintiffs,

ORDER GRANTING PS! DEFENDANTS’
MOTION TO DISMISS AMENDED
COMPLAINT

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Vv.

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B, WAYNE HUGHES; B. WAYNE )
HUGHES, JR; TAMARA HUGHES )
GUSTAVSON; DANN V. ANGELOFF; _)
MARVIN M. LOTZ; HARVEY LENKIN; __)
RONALD L. HAVNER, JR; THOMAS J.)
BARRACK, JR; ROBERT J. )
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ABERNETHY; WILLIAM C. BAKER; URI
P. HARKHAMN; DANIEL C. STATON;
JOHN T. EVANS; JOHN REYES; DAVID
GOLDBERG; A. TIMOTHY SCOTT, and
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Defendants.

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PUBLIC STORAGE, INC., a California
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Nominal Defendant

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Defendants David Goldberg, Ronald L. Havner, Jr., Harvey Lenkin, Marvin M. Lotz, John
Reyes, A. Timothy Scott, and Public Storage, Inc. (“PSI Defendants”) move for dismissal of this
action pursuant to Federal Rule of Civil Procedure 12(b)(6).' The Court deemed this matier
appropriate for decision without oral argument and vacated the hearing. Local Rule 7-15. Forthe
reasons set forth herein, the Court hereby GRANTS the motion and dismisses this action with
prejudice.

I, BACKGROUND

This is a shareholders’ derivative suit brought on behalf of nominal defendant Public
Storage, Inc. ("PSI") against present and former directors or executive officers of the company.
PSI was organized and formed in 1980 by affiliates of an entity owned by Defendants B. Wayne
Hughes, B. Wayne Hughes, Jr., and Tamara Hughes Gustavson (collectively the “Hughes Family
Defendants”). PSI is engaged in the business of leasing self-storage facilities. Verified Amended
Complaint (hereinafter “Am. Compl.”) 7 43. The company is incorporated in California and
maintains its headquarters in Glendale, CA. /d. J 18. PSI's stock is listed and traded on the
NYSE and the Pacific Exchange. /d.

Through this action, Plaintiffs seek to recover hundreds of millions of dollars that
Defendants allegedly misappropriated from PS! through two separate transactions. Am. Compl.
111. The first transaction relates to the operations of an entity known as PS Insurance Company,
Ltd. ("PSIC”) and its subsequent sale to PSI on December 31, 2001 (hereinafter the “PSIC
Transaction’). /d. {| 5. PSIC reinsures insurance policies for tenants who lease PSI storage
facilities. /d. 62. The company was formed sometime prior to 1995 and was wholly owned by
the Hughes Family Defendants.

Plaintiffs allege that Defendants engaged in a series of related frauds in connection with
PSIC prior to November 1995 and continuing through December 2001. Am. Compl. 75. The

frauds included: (1) the unjust, uncompensated and undisclosed seizure, sometime prior to 1995,

 

" All named defendants have filed notices of joinder in the present motion.

 

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of a valuable corporate opportunity from PSI and its shareholders by the Hughes family through
their ownership of PSIC; (2) the issuance to the Hughes family of an estimated $212 milion
(current value) of excess stock in PSI at the time of a 1995 merger; (3) the subsequiént
undisclosed use of valuable PSI resources without compensation to PSI, from before 1995
through 2001, to conduct and operate the seized business opportunity; (4) the benefit of six years
(1996 through 2001) of PSIC’s profit from the seized corporate opportunity by the Hughes Family
Defendants, which should have gone to PSI; and (5) the subsequent sale of the seized
opportunity back to PSI on December 31, 2001, at a fraudulent, unjust and unreasonable cost to
PSI and its public shareholders, /d. Plaintiffs further allege that the PSIC transactions resulted
in the unjust transfer of wealth, estimated to be around $372 million, from PSI and its
shareholders to the Hughes family. fd. 165.

The second transaction (hereinafter the “Canadian Transaction’) relates to services
allegedly provided by PSi to certain Canadian entities owned in whole or in part by the Hughes
Family Defendants.? Am. Compl. ]|7. Plaintiffs assert that Defendants failed to compensate or,
at best, inadequately compensated PSI for the use of its resources. [d. According to Plaintiffs,
prior to December 31, 2003, all or most of the Canadian entities’ officers were senior officers and
employees of PSI who were paid by PSI. /d. 9. Additional PSI personnel were allegedly
engaged in the supervision and operation of the Canadian properties and provided other
administrative assistance, namely tax-related services. /d. 7 77. Plaintiffs contend that
Defendants failed to disclose to these transactions to PS! shareholders. /d. J 78.

Based on these transactions, Plaintiffs aver that Defendants wrongfully refused the
demands of shareholders, breached their fiduciary duties of candor, care, good faith, loyalty and
full disclosure, fraudulently wasted corporate assets, and failed to disclose material information

to public shareholders, all in violation of federal law, including the Sarbanes-Oxley Act. Am.

Compl. J 2.

 

* The Canadian entities include Public Storage Canadian Properties ("PSCP’), a Canadian
public limited partnership owned and controlled by the Hughes family. Am. Compl. J 7.

 

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Plaintiffs allege claims against the Hughes Family Defendants and thirteen other current

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and former officers and directors of the company. Hy

Defendant B. Wayne Hughes (“Hughes”) is the Chairman of the Board of Directors of Psi
and has been a director of the company since its organization. Am. Compl. 26. Hughes Was
the President and Co-Chief Executive Officer from 1980 until November 1991, when he became
the Chairman of the Board and sole Chief Executive Officer. /d.

Defendant B. Wayne Hughes Jr. (“Hughes Jr.} is currently a director of PSI and was the
Vice President of Acquisitions. Am. Compl. 927. Hughes Jr., who is the son of Defendant
Hughes, became a director of PSI in January 1998 and was employed by the company from 1989
to 2002 serving as the Vice President of Acquisitions from 1992 to 2002. fd.

Defendant Tamara Hughes Gustavson is the daughter of Defendant Hughes and was the
Vice President of Administration of PSi until 2002. Am. Compl. {| 28.

Defendant Ronald L. Havner Jr. became the elected Vice-Chairman, Chief Executive
Officer, and a director of PSI in November 2002. Am. Compl. {| 29.

Defendant Dann V. Angeloff has been a director of PSI since the company’s organization
in 1980. Am. Compl. J 30.

Defendant Marvin M. Lotz was a director and a Senior Vice President of PS! until March
2004, when he terminated his employment. Am. Compl. {] 31.

Defendant Harvey Lenkin (“Lenkin”) has been a director and the President of PSt since
1991. Am. Compl. J 32. Lenkin has been employed by PSI or its predecessor, an entity
controlled by the Hughes Family, for over 25 years. /d.

Defendant Thomas J. Barrack, Jr. was a director of the company from 1998 until May 2003.
Am. Compl. 7 33. He, however, chose not to stand for reelection. /d.

Defendant John T. Evans (“Evans”) is a member of PSI’s Audit Committee and became
a director of the company in August 2003. Am. Compl. 9 34. In addition, Evans, until! August
2003, was a director of Canadian Mini-Warehouse Properties Ltd. (“CMP”), a Canadian

corporation owned by the Hughes Family. /d.

 

 
 

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Defendant Robert J. Abernethy has been a director of PSI since its formation. Am. Compl.
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9 35. ey
Defendant William C. Baker has been a director of PS! since 1991. Am. Compl Jj 36
Defendant Uri P. Harkham has been a director of PSI since March 1993. Am. Compl q

37,

Defendant Daniel C. Staton, who became a director of PSI in 1999, is the Chairman of the
Compensation Committee and a member of the Audit Committee and the Nominating/Corporate
Governance Committee. Am. Compl { 38.

Defendant John Reyes (“Reyes”) became PSI's Senior Vice-President and Chief Financial
Officer in December 1996. Am. Compl. 739. Prior to that, Reyes was PSI’s corporate controller.
Id.

Defendant David Goldberg is PSI's Vice President-Senior Counsel and Secretary. He has
been employed by PS! since at least 1995. Am. Compl. J 40.

Defendant A. Timothy Scott (“Scott”) has been PSI’s Vice-President and Tax Counsel since
1996. Am. Compl. 41. Prior to joining PSI, Scott was affiliated with the law firm HellerEhrman,
the firm that represented certain entities owned by the Hughes Family Defendants. /d.

This action was filed on December 30, 2004. Defendants moved to dismiss the complaint
on April 18, 2004. On June 20, 2005, the Court heard argument and granted Defendants’ motion
finding Plaintiffs lacked standing to maintain the shareholder's derivative suit pursuant to Federal!
Rule of Civil Procedure 23.1. Plaintiffs were given 20 days to amend the deficiencies in the
pleading. On July 12, 2005, Plaintiffs filed a Verified Amended Complaint. PSI Defendants now
seek dismissal of the amended pleading primarily on grounds that Plaintiffs lack standing.
tl. LEGAL STANDARD

Rule 12(b)(6) must be read in conjunction with Rule 8(a) which requires “a short and plain
statement of the claim showing that the pleader is entitled to relief.” 5A Charles A. Wright &
Arthur Miller, Federal Practice and Procedure § 1356 (1990). The court must accept all material

allegations in the complaint as true and construe them in the light most favorable to the plaintiff.

 

 
 

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See NL indus. v. Kaplan, 792 F.2d 896, 898 (9th Cir. 1986): see also Russell v. Landrieu, 621
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F.2d 1037, 1039 (9th Cir. 1980). Wd

“Dismissal without leave to amend is improper unless it is clear that the complaint could
not be saved by any amendment.” Polich v. Burlington Northern, Inc., 942 F.2d 1457, 1472 (th
Cir. 1991). However, a district court can deny leave “where the amendment would be futile....or
where the amended complaint would be subject to dismissal.” Saul vy. U.S., 928 F.2d 829, 843
(9th Cir. 1991) (citations omitted). Moreover, the court’s discretion in deciding whether to dismiss
without leave to amend “is particularly broad” when plaintiffs previously have been granted leave
to amend. Simon v. Value Behavioral Health, Inc., 208 F.3d 1073, 1084 (9th Cir. 2000); see also
Allen v. City of Beverly Hills, 911 F.2d 367, 373 (9th Cir. 1990) (repeated failure to cure deficient
pleadings provides grounds to deny leave to amend).

Further, “[i]t is appropriate to address the question of standing in deciding a motion to
dismiss because the elements of standing are an indispensable part of the plaintiff's case, and
accordingly must be supported at each stage of litigation in the same manner as any other
essential element of the case.” Warren v. Fox Family Worldwide, Inc., 328 F.3d 1136, 1140 (9th
Cir. 2003) (internal quotations and citations omitted).
fll. DISCUSSION

The Court, accepting as true all material allegations of the complaint, concludes that
Plaintiffs do not have standing to maintain this suit under Federal Rule of Civil Procedure 23.1.
Therefore, the Court need not address Defendants’ remaining arguments.

A. Plaintiffs Lack Standing to Maintain Claims Regarding the PSIC Transaction

Rule 23.1 of the Federal Rules of Civil Procedure sets forth the procedural requirements
for bringing a shareholders’ derivative action in federal court. Rule 23.1 provides, in pertinent part,
that “the complaint shall be verified and shall allege [] that the plaintiff was a shareholder or
member at the time of the transaction of which the plaintiff complains...” Fed. R. Civ. P. 23.1.
This requirement is commonly referred to as the “contemporaneous ownership rule.” Lewis v.

Chiles, 719 F.2d 1044, 1047 (9th Cir. 1983). A plaintiff's “failure to own stock in [nominal

 
 

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defendant] contemporaneously with bringing suit deprives them of standing to pursue their claims
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derivatively.” Kona Enterprises, Inc. v. Estate of Bishop, 179 F.3d 767, 769 (9th Cir. 1999).2!

In this case, the amended complaint alleges that “Plaintiff Krieger purchased his shaves
of PSI common stock in June 2002, and has held these shares continuously to the present.” Am.
Compl. 24. Prior to this date, Plaintiff Krieger was not a shareholder. Thus, the only relevant
inquiry is whether the PSIC Transaction occurred before June of 2002.

Plaintiffs have repeatedly alleged that the PSIC Transaction began in 1995 and culminated
with the sale of PSIC by the Hughes Family Defendants to PSI on December 31, 2001. Compare
Am. Compl. 9 5 with Original Compl. 7 95. Krieger clearly was not a PSI shareholder during the
time of this transaction, as the transaction was completed well in advance of his acquisition of
shares. Therefore, the face of the verified pleading, as amended, establishes that Krieger does
not have standing to bring claims based on the PSIC Transaction.

However, Plaintiffs argue that Krieger has standing to assert derivative claims based on
the contention that the PSIC Transaction constitutes a “continuing wrong” which “commenced
sometime before 1995, but has not been fully executed.” Am. Compl. 725. This allegation, which
was not contained in the original complaint, is aimed at invoking the so-called “continuing wrong”
exception to contemporaneous ownership requirement of Rule 23.1. The “continuing wrong”
doctrine allows a plaintiff to bring suit for injuries suffered by the corporation subsequent to
plaintiff's acquisition of stock if the series of events of which plaintiff complains can be construed
as constituting a single transaction. 7C Wright, Miller & Kane, Federal Practice & Procedure: Civil
2d § 1828 at 65.

The Ninth Circuit has not addressed the effect of the “continuing wrong” exception on the
standing requirements of Rule 23.1. Nevertheless, “federal courts generally have rejected the
contention than an entire series of events constitutes a single transaction...entitling a plaintiff to
bring suit for injuries suffered by the corporation subsequent to plaintiff's acquisition of stock.
Rather, plaintiff has been barred from complaining about events of this character on the theory
that they assume their wrongful character as of the time of the initial event, which antedated

plaintiffs gaining shareholder status.” 7C Wright, Miller & Kane, Federal Practice & Procedure:

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Civil 2d § 1828 at 65.° Indeed, a district court in this circuit considered the “continuing wrong”
notion and declined to apply the exception, concluding that “the standing requirements of Rille
23.1 should not be eroded.” /n re Rasterops Corp. Secs. Litig., 1993 WL 476651, *7 (N.D. Cal
Sept. 10, 1993). .

Plaintiffs, in urging the Court to adopt the “continuing wrong” notion, cite to out of district
cases in which the exception was applied enabling a plaintiff wno acquired stock after the alleged
wrong was committed to maintain a derivative suit. Pls’ Opp’n P. & A. pp. 10-12. Plaintiffs rely
primarily on the Fifth Circuit case, Bateson v. Magna Oj! Corp., 414 F.2d 128 (5th Cir. 1969). In
that case, the court held that “where the complaint charged continuing wrongs, occurring at the
time plaintiff owned stock, the complaint should not be dismissed on defendant's contention that
the claims actually arose prior to the time plaintiff acquired his stock.” /d. at 130 (citations
omitted).

However, Plaintiffs’ reliance on Bateson is misplaced. The position taken by the Fifth
Circuit is certainly not the prevailing view on the “continuing wrong” doctrine and, moreover, is not
a view that has been accepted by the Ninth Circuit. See 7C Wright, Miller & Kane, Federai
Practice & Procedure: Civil 2d § 1828 at 66. Nevertheless, the facts of Bafeson are
distinguishable inasmuch as the plaintiff in that case owned stock in the corporation continuously
for eleven years prior to selling it. Bateson, 414 F.2d at 131. He then reacquired stock in order
to file the derivative suit. /d. The court, recognizing that the plaintiff was a “longtime stockholder”
who appeared to be “concerned with the management of the company[,]’ concluded the plaintiff
was not attempting to litigate a “purchased grievance[].” /d.

In contrast, proposed lead plaintiff Krieger only recently acquired his stock in PSI, and did
so after the PSIC Transaction was completed. Further, in support of its initial motion to dismiss,

Defendants asserted that Krieger was previously embroiled in an unrelated legal dispute with PSI

 

* Moreover, it is noted that the continuing wrong doctrine has been invoked sparingly even by
those courts that have chosen to adopt the exception. See In re Bank of N.Y. Derivative Litig.,
173 F. Supp. 2d 193, 198 (S.D.N.Y. 2001).

 
 

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involving a PSI vendor, Community Online Protection Systems, Inc. (“COPS”). Defs’ Reply P. &
A in Support of Motion to Dismiss Original Complaint 1: 1-4; see also Original Compl. J 108.
Krieger, who apparently was a COPS shareholder, had discussions with PSI regarding allegaticns
that senior managers of PSI engaged in misrepresentation and breached various contracts with
COPS. /d. In light of this unrelated dispute, and considering the timing of Krieger's purchase of
PSI stock, the Court is unable to conclude that Krieger is not attempting to litigate a “purchased
grievance.” For these reasons, the Bafeson case is inapposite and provides no basis for the
Court to apply the “continuing wrong’ doctrine to this matter.

Considering the “continuing wrong” exception is not the law in this Circuit, and in light of
the clear standing requirements of Rule 23.1, Plaintiffs’ position is unpersuasive.* The Ninth
Circuit has explained that the contemporaneous ownership rule “stems from the equitable nature
of derivative litigation which allows a shareholder "to step into the corporation's shoes and to seek
in its right the restitution he could not demand in his own.” Lewis, 719 F.2d at 1047 (citation
omitted). Moreover, this Court notes that Rule 23.1 is intended to prevent “purchases grievances,”
i.e. the acquisition of stock with the pre-existing plan to pursue a shareholder's derivative suit.
Daily Income Fund, Inc. v. Fox, 464 U.S, 523, 532 n.6, 78 L. Ed. 2d 645, 104 S. Ct. 831 (1984).
Thus, this Court is not inclined to adopt an exception that could result in the circumvention of the

well-settled standing requirements for derivative litigation.

 

* The Court notes that even if the “continuing wrong” doctrine was recognized in this Circuit,
the amended complaint fails to allege facts that would trigger this exception. Plaintiffs predicate
their “continuing wrong” argument on the allegation that the PSIC Transaction “commenced
sometime before 1995, but has not been fully executed, as the Hughes Family continues to
receive dividends on the shares they received from the overpriced sale of PSIC to PSI in 2001.”
Am. Compl. {| 25. Plaintiffs further allege the “ongoing payments of dividends to the Hughes
family on shares of PSI stock they received from the PSIC Transaction.” /d. ]60. However, the
allegation that Defendants continue to receive dividends from allegedly improperly obtained
shares is insufficient to invoke the exception. Indeed, if the Court were to accept this position,
then plaintiffs could buy into grievances as long as defendants maintained their stock in the
corporation. In other words, the mere allegation that defendants continue to profit from ill-gotten
securities would suffice to confer standing on any plaintiff regardless of when their stock was
purchased. Inasmuch as the standing requirements for derivative suits are aimed at preventing
“purchased grievances,” such an interpretation of the “continuing wrong” exception would
eviscerate Rule 23.1.

 
 

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Based on the foregoing, Plaintiff Krieger does not have standing maintain derivative claims
stemming from the PSIC Transaction because of the lack of contemporaneity between his stock
acquisition and the period during which the wrongs allegedly occurred. Fed. R. Civ. P. 23.18

Plaintiff Potter also lacks standing to pursue claims arising from the PSIC Transaction.
Though it is undisputed that Potter satisfies that contemporaneous ownership requirement (see
Am. Compl. J 23), she fails to meet the demand requirement of Rule 23.1.

Federal Rule of Civil Procedure 23.1 requires the shareholder in a derivative suit to “allege
with particularity the efforts, if any, made by the plaintiff to obtain the action plaintiff desires from
the directors or comparable authority and, if necessary, from the shareholders or members, and
the reasons for the plaintiff's failure to obtain the action or for not making the effort.” Fed. R. Civ.
P. 23.1. In order to satisfy the demand requirement, “[t]he demand must identify the alleged
wrongdoers, describe the factual basis of the wrongful acts and the harm caused to the
corporation, and request remedial relief." Lewis v. Sporck, 646 F. Supp. 574, 578 (N.D. Cal.
1986). Moreover, “[t]he demand must [] identify the name of the shareholder requesting the suit.”
5 Moore's Federal Practice § 23.1.08[2][b] (3d ed. 2005) citing Smachio v. Birkelo, 576 F. Supp.
1439, 1444-45 (D. Del. 1983).

In this case, the amended complaint fails to allege any demand regarding the PSIC
Transactions that names Potter as a shareholder. Rather, Plaintiffs allege that "Krieger, on behalf
of himself and another shareholder, Plaintiff Potter, made a formal written demand on the Board
of Directors that challenged the fairness of the Company's acquisition of PSIC....” Am. Compl.
{| 96. However, Plaintiffs then clarify that Potter was not identified by name in that demand.
Plaintiffs allege that the November 21, 2002, demand, “made by Dr. Krieger,” stated: Two

individuals (‘the Plaintiffs’) who reside in Southern California where the lawsuit will be filed will join

 

* The rationale for the demand requirement is that “before the shareholder is permitted in his
own name to institute and conduct a litigation which usually belongs to the corporation, he should
show to the satisfaction of the court that he has exhausted all the means within his reach to
obtain, within the corporation itself, the redress of his grievances, or action in conformity to his
wishes.” Hawes v. Oakland, 104 U.S. 450, 460-461 (1882).

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with me to bring the action. They are holders of both PSI’s common shares and various issues
of PSI's preferred stock.” /d. ] 97. Wy

Plaintiffs now contend that the above statement “refers to Plaintiff Katherine Potter and
another individual who is no longer a PSI shareholder....” Am. Comp!. § 97. However, “there was
no way PSI could discern Potter's identity from Krieger's vague reference’ to “two individuals who
reside in Southern California.” Defs’ P. & A. 5: 26-27. Inasmuch as the amended complaint
contains no allegation that Potter, herself, made a demand concerning the PSIC Transaction,
Potter does not have standing to pursue claims arising from this transaction. See Smachlo, 567
F. Supp. at 1445 (dismissing derivative complaint because the demand failed to identify the
shareholder).

B. Plaintiffs Lack Standing to Maintain Claims Regarding the Canadian Transaction

As noted, Rule 23.1 requires the complaint to allege with particularity either that a detailed
demand was made on the board of directors, or that making such a demand would be futile. Fed.
R. Civ. P. 23.1. The instant complaint fails to allege that either Plaintiff made a valid demand on
PSI's Board relating to the Canadian Transaction. Instead, Plaintiffs point to four letters, sent by
Krieger to PSI’s Board, which they claim satisfy Rule 23.1's demand requirement.

According to Plaintiffs, the first letter, dated March 19, 2003, “set forth in detail other
related-party transactions, including the Canadian Transaction, where there was evidence of
possible wrongdoing due to conflicts of interests.” Am. Compl. ] 106. The second letter, dated
April 7, 2003, “identified financial disclosure issues” as well as “issues related to the Canadian
Transaction.” /d. 4] 107. Plaintiffs claim that a third letter, dated June 23, 2003, fully discussed
the Canadian Transaction and demanded answers. /d. 9 108. The fourth letter dated November
1, 2003, “cited the Canadian Transaction and demanded action.” /d. {| 109.

However, mere letters to the board, lacking in specificity that would give the directors an
opportunity to make a judgment on the claims, do not constitute a formal demand. Shiensky v.
Dorsey, 574 F.2d 131, 142 (3d Cir. 1978). Similarly, letters which contain conclusory allegations
regarding perceived losses to the company have been held insufficient to qualify as a demand.

Seidel v. Public Service Co., 616 F.Supp. 1342, 1350 (D.N.H. 1985).

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Here, the Court notes that Plaintiffs relied on the same letters in opposing Defendants’
initial motion to dismiss. The Court considered and rejected the contention that such eters
constitute a valid demand. The amended pleading provides no grounds for the Court to
reconsider this finding. The letters do not identify the alleged wrongdoers and fail to inform the
directors of the factual basis for the claim. Rather, the letters contain vague and conclusory
references to the Canadian Transactions and fail to provide the directors with sufficient
information to evaluate the alleged wrongful acts. Further, there is no indication that Plaintiffs,
through these letters, requested remedial relief for harm allegedly arising from the Canadian
Transaction.© Thus, the amended complaint falls well short of satisfying the demand provisions
of Rule 23.1. See Lewis, 646 F. Supp. at 578. Accordingly, neither Plaintiff has standing to
pursue derivative claims arising from the Canadian Transaction.

C. Demand Futility

Plaintiffs further assert that, if the Court determines Potter made no demand concerning
the PSIC Transaction and neither Plaintiff satisfied the demand requirement with respect to the
Canadian Transaction, such demands were futile. Pls’ Opp'n P. & A. 16-17. As an alternative
to a valid demand on the board, a shareholder may plead that a demand should be excused due
to futility. Fed. R. Civ. P. 23.1.

The instant futility arguments, however, are not well-taken. First, there is authority to
suggest Plaintiffs cannot claim demand futility in connection with Potter's failure to demand action
on the PSIC Transaction because Krieger did, in fact, make a valid demand regarding that claim.
See Stepak v. Addison, 20 F.3d 398, 412 (11th Cir. 1994) (citing state cases holding that
derivative plaintiffs “cannot cover all bases” by having one shareholder make a demand while

another asserts demand futility.).

 

®° The Court notes that Plaintiff Krieger may not be heard to claim that he did not know how to
make a valid demand in light of his demand in connection with the PSIC Transaction. See
Original Compl. {| 104 ("After receipt of Krieger's November 2002 Shareholder’s Demand, a
special meeting of PSI's Board was held in early December 2002 and a Special Committee of the
Independent Directors was appointed, purportedly to investigate Krieger's demand.”)

 

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However, even if Potter could assert futility notwithstanding Krieger's demand, Plaintiffs fail
to make a sufficient showing that a demand by Potter would have been futile. “The test.for
proving demand futility is whether the facts show a reasonable doubt that (1) the directors’are
disinterested and independent, and (2) the challenged transaction was otherwise the product of
a valid exercise of business judgment.” Oakland Raiders v. NFL, 93 Cal. App. 4th 572, 587 (Cal.
Ct. App. 2001) (citation omitted). To support their claim of demand futility as to Potter, Plaintiffs
rely entirely on paragraph 118 of their amended pleading (Pis’ Opp'n P. & A. 16: 22-26), which
states:

If E&Y (PSI’s auditors) was informed [as to the existence of Krieger's demand], why

did they countenance PSl's failure to disclose the information to its shareholders in

the 2002 financial statements. Furthermore, why did PS] fail to file a Form 8-K with

the SEC disclosing these matters in November and December 2002? These are

also indications of a cover-up. Am. Compl. J 118
Plaintiffs, however, fail to explain how such questions constitute facts sufficient to cast a
reasonable doubt on whether PSI’s directors were disinterested and independent. Thus, Potter’s
claim of demand futility is without merit.

With respect to the Canadian Transaction, Plaintiffs made no demand. Thus, the only way
to avoid dismissal of that claim is to plead futility. Plaintiffs argue that any demand with regard
to the Canadian Transaction would have been futile for the following reasons: (1) PSI's directors
are not independent given several board members were or are either employees of or have had
business relationships with, PSI or the Hughes Family (Am. Compl. {J 26-41); (2) the Special
Committee is comprised of members who lack independence and are interested (Am. Compl. {[f]
100, 102, 145); (3) the demands made to date have been largely ignored (Am. Compl. {J 88-16,
128-153): (4) the Special Committee acceded to the Hughes’ Family Defendants’ strategy and
eventually suspended its investigation; (5) each of the directors, with the exception of Evans,
approved the transactions in question; (6) the Hughes Family Defendants exercised control to
dominate the other Board members; and (7) several directors have been entrenched as PSI

directors for almost 20 years. Pls’ Opp’n P. & A. 17: 3-13.

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The Court notes, however, that Plaintiffs advanced the same contentions of director bias
and lack of independence in opposition to Defendants’ initial motion to dismiss. The Court
granting that motion, rejected these arguments finding each allegation insufficient to establish
futility of demand with respect to the Canadian Transaction. Plaintiffs now assert that the same
allegations, “taken together [and] under the ‘totality of the circumstances,’ more than adequately
overcome a reasonable doubt in the majority of the board's independence and business
judgment.” Pls’ Opp’n P. & A. 17: 14-18.

To support this position, Plaintiffs rely on the Delaware Chancery Court case Cal. Pub.
Emples. Ret. Sys. v. Coulter, 2002 Del. Ch. LEXIS 144 (Del. Ch. 2002). In that case, the court
explained that allegations relating to personal friendships, family ties, and outside business
relationships, standing alone, may be insufficient to demonstrate a director's lack of
independence. /d. at *29. However, the court held that such factors, if taken together, could
provide reason to doubt that the director is disinterested and independent. /d.

The Coulter case, which, of course, is not binding on this Court, provides no support for
Plaintiffs’ futility argument. First, the case is inapposite inasmuch the court's “reasonable doubt”
analysis involved the application of Delaware law. Further, the Coulfer court found that a number
of allegations relating to the personal bias of a single director created a reasonable doubt as to
that director's independence. By contrast, Plaintiffs in this case merely provide vague and
conclusory allegations pertaining to the entire board, none of which are sufficient to establish lack
of independence. Defs’ P’ & A. pp. 7-10. Moreover, the Court notes that Plaintiffs fail to satisfy
the second prong of California's demand futility test because the amended complaint fails to
allege that the Canadian Transaction was not otherwise the product of a valid exercise of
business judgment. See Oakland Raiders, 93 Cal. App. 4th at 587.

In sum, Plaintiffs cannot claim demand futility with respect to the PSIC Transaction and fail
to properly allege futility relating to the Canadian Transaction.
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IV. CONCLUSION

Based on the foregoing, the Court concludes that neither Plaintiff has standing to purkite
the instant derivative claims under Federal Rule of Civil Procedure 23.1." The Court, havi
already permitted leave to amend these deficiencies, hereby GRANTS Defendants’ motion and

dismisses this action with prejudice.

IT 1S SO ORDERED.

Dated this SoH day of June, 2006. DM,
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HON. Lele P. i acide
UNITED STATES DISTRICT JUDGE

 

" Because it has determined that Plaintiffs do not have standing to maintain this derivative suit,
the Court need not address Defendants’ remaining arguments. Furthermore, in light of Plaintiffs’
lack of standing, Defendants Robert J. Abernethy, Dann V. Angeloff, William C. Baker, Thomas
J. Barrack Jr., John T. Evans, Uri P. Harkham, and Daniel C. Staton’s Motion to Dismiss Amended
Complaint (Dck. # 45) is deemed moot.

 

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